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Vanessa R. Waldref
United States Attorney
FILED IN THE

Eastern District of Washington U.S. DISTRICT COURT
Matthew A Stone EASTERN DISTRICT OF WASHINGTON

Assistant United States Attorney JAN 18 2022
402 E. Yakima Ave., Suite 210 SEAN F MeAVOY, CLERK
Yakima, WA 98901 —aGLAND. WASHINGTON

Telephone: (509) 454-4425

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA ) NO: 1:21-CR-02003-SMJ
)
)
VS.
)
) Plea Agreement
LAVANDER YAHTIN )
)

The United States of America, by and through Vanessa R. Waldref,

United States Attorney for the Eastern District of Washington, and Matthew A.
Stone, Assistant United States Attorney for the Eastern District of Washington,
and Defendant, LAVANDER YAHTIN, and Defendant’s counsel, Ulvar W.
Klein, agree to the following Plea Agreement:

ie Guilty Plea:

Defendant, LAVANDER YAHTIN, agrees to plead guilty to Count Three of
the Indictment in this case, charging Defendant with Discharging a Firearm During
and in Relation to a Crime of Violence, in violation of
18 U.S.C. § 924(c)(1 )(A)Giil).

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2. Maximum Statutory Penalties:

Defendant, LAVANDER YAHTIN, understands that this is a Class A felony
charge, which carries a maximum penalty of: at least ten (10) years and up to life
imprisonment; a fine not to exceed $250,000; up to (5) years of supervised release;
and a $100 special penalty assessment.

Defendant understands that a violation of a condition of supervised release
carries an additional penalty of re-imprisonment for all or part of the term of
supervised release without credit for time previously served on post-release
supervision.

3. The Court is Not a Party to the Agreement:

The Court is not a party to this Plea Agreement and may accept or reject this = |"

Plea Agreement. Sentencing is a matter that is solely within the discretion of the
Court. Defendant understands that the Court is under no obligation to accept any
recommendations made by the United States and/or by Defendant; that the Court
may obtain an independent report and sentencing recommendation from the U.S.
Probation Office; and that the Court may, in its discretion, impose any sentence it
deems appropriate up to the statutory maximums stated in this Plea Agreement.
Defendant acknowledges that no promises of any type have been made to

Defendant with respect to the sentence the Court will impose in this matter.

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Defendant understands that the Court is required to consider the applicable
sentencing guideline range, but may depart upward or downward under the
appropriate circumstances.

Defendant understands that should the sentencing judge decide not to accept
any of the parties’ recommendations, that decision is not a basis for withdrawing
from this Plea Agreement or a basis for withdrawing this plea of guilty.

4. Waiver of Constitutional Rights:

Defendant, LAVANDER YAHTIN, understands that by entering this plea of
guilty Defendant is knowingly and voluntarily waiving certain constitutional
rights, including:

(a). The right to a jury trial;

(b). The right to see, hear and question the witnesses; ~
(c). The right to remain silent at trial;

(d). The right to testify at trial; and

(e). The right to compel witnesses to testify.

While Defendant is waiving certain constitutional rights, Defendant
understands that he/she retains the right to be assisted through the sentencing, and
any direct appeal of the conviction and sentence, by an attorney who will be
appointed at no cost if Defendant cannot afford to hire an attorney.

5. Effect on Immigration Status:

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Defendant, LAVANDER YAHTIN, recognizes that pleading guilty may
have consequences with respect to his/her immigration status if he/she is not a
citizen of the United States. Under federal law, a broad range of crimes are
removable offenses, including the offense to which Defendant is pleading guilty.
Removal and other immigration consequences are the subject of a separate
proceeding, however, and Defendant understands that no one, including his/her
attorney or the District Court, can predict to a certainty the effect of his/her
conviction on: his/her immigration status. Defendant nevertheless affirms that
he/she wants to plead guilty regardless of any immigration consequences that
his/her plea may entail, even if the consequence is his/her automatic removal from
the United States.

6. __ Eléivients of the Offense:

The United States and Defendant agree that in order to convict Defendant of
Discharging a Firearm During and in Relation to a Crime of Violence, in violation
of 18 U.S.C. § 924(c)(1)(A\iii), the United States would have to prove beyond a
reasonable doubt the following elements:

(a). First, the Defendant committed the crime of Robbery Affecting

Commerce;

(b). Second, the Defendant knowingly discharged a SCCY CX-2 9mm

caliber pistol during and in relation to that crime.

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7. Factual Basis and Statement of Facts:

The United States and Defendant stipulate and agree that the following facts
are accurate; that the United States could prove these facts beyond a reasonable
doubt at trial; and that these facts constitute an adequate factual basis for
LAVANDER YAHTIN’s guilty plea. This statement of facts does not preclude
either party from presenting and arguing, for sentencing purposes, additional facts
which are relevant to the guideline computation or sentencing, unless otherwise
prohibited in this agreement.

On or about October 29, 2020, Defendant entered the Wolf's Den Travel
Center in Wapato, Washington, armed with a SCCY CX-2 9mm caliber pistol and
pointed it at the cashiers working there. Defendant ordered the cashiers to provide
him moriéy and with drinks. Defendant also took Copenhagen tobacco products
while holding the cashiers and gunpoint and threatening them. During this time a
customer entered the Wolf’s Den and Defendant began to talk to him. One cashier,
S.B. hit Defendant with a tire pressure gauge and a struggle ensued. Defendant
discharged the SCCY CX-2 9mm caliber pistol twice before exiting the store with
the money and Copenhagen tobacco products. Defendant was eventually

apprehended by police after driving away from the Wolf’s Den in a vehicle.

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8. The United States Agrees:

The United States Attorney’s Office for the Eastern District of Washington
agrees not to bring any additional charges against the Defendant based upon
information in its possession at the time of this Plea Agreement and arising out of
Defendant's conduct involving illegal activity charged in the Indictment in this
case, unless the Defendant breaches this Plea Agreement any time before or after
sentencing. The United States also agrees to dismiss the remaining counts of the
Indictment against Defendant, if any.

9, United States Sentencing Guideline Calculations:

Defendant understands and acknowledges that the Court will consult the

United States Sentencing Guidelines (hereinafter “U.S.S.G.”) and take them into

account when senténcing. Defendarit’also understands, however, that pursuant to ~~

United States v. Booker, 543 U.S. 220 (2005), the Sentencing Guideline range is
advisory and that the court is required to consider the factors set forth in 18 U.S.C.
§ 3553(a) and to impose a reasonable sentence.
(a.) Acceptance of Responsibility:
If Defendant pleads guilty and demonstrates a recognition and an affirmative
acceptance of personal responsibility for the criminal conduct; provides complete
and accurate information during the sentencing process; does not commit any

obstructive conduct; and enters a plea of guilty as soon thereafter as it may be

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placed on the court’s docket, the United States will recommend that Defendant
receive a two (2) level reduction for acceptance of responsibility, and if
Defendant's adjusted offense level is sixteen (16), or greater, the United States will
move for a one (1)-level reduction for timeliness. See U.S.S.G. § 3E1.1(a) and (6).

The Defendant and the United States agree that the United States may at its
option and upon written notice to the Defendant, not recommend a three (3) level
downward reduction for acceptance of responsibility if, prior to the imposition of
sentence, the Defendant is charged or convicted of any criminal offense
whatsoever or if the Defendant tests positive for any controlled substance.

(b.) Criminal History:

The United States and Defendant make no agreement regarding Defendant’s

“criminal history.

10. Incarceration:

The United States and the Defendant agree to recommend that the Court
impose a sentence of ten (10) years imprisonment.

11. Fines:

The United States and Defendant reserve the right to make whatever
recommendation they believe is appropriate concerning the imposition of a

criminal fine.

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12. Supervised Release:

The United States and Defendant agree to recommend that the Court impose
a 5-year term of supervised release.

13. Mandatory Special Penalty Assessment:

Defendant agrees to pay the $100 mandatory special penalty assessment to
the Clerk of Court for the Eastern District of Washington, at or before sentencing,
pursuant to 18 U.S.C. § 3013 and shall provide a receipt from the Clerk to the
United States before sentencing as proof of this payment.

14. Restitution:

The United States and the Defendant hereby stipulate and agree that,
pursuant to 18 U.S.C. § 3663, § 3663A, and § 3664, the Court should order
restitution to the victims, and medical providers in an arfiount not to exceed |
$1 0,000.00.

15. Payments While Incarcerated:

If Defendant lacks the financial resources to pay the monetary obligations
imposed by the Court, Defendant agrees to earn the money to pay toward these
obligations by participating in the Bureau of Prisons’ Inmate Financial

Responsibility Program.

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16. Appeal Rights:

The Defendant understands that he has a limited right to appeal or challenge
the conviction and sentence imposed by the Court. The Defendant hereby
expressly waives his/her right to appeal his conviction and the sentence the Court
imposes, including any restitution order. The Defendant further expressly waives
his/her right to file any post-conviction motion attacking his conviction and
sentence, including a motion pursuant to 28 U.S.C. § 2255, except one based upon
ineffective assistance of counsel based on information not now known by
Defendant and which, in the exercise of due diligence, could not be known by
Defendant by the time the Court imposes the sentence.

Defendant acknowledges that this waiver shall result in the dismissal of any
appeal or collateral ‘attack Defendant might file challenging the conviction or
sentence in this case, except for ineffective assistance of counsel as noted above.
If Defendant files a notice of appeal, a habeas petition, or other collateral attack,
notwithstanding this agreement, Defendant agrees that this case shall, upon motion
of the Government, be remanded to the District Court to determine whether
Defendant is in breach of this agreement and, if so, to permit the Government to

withdraw from the Plea Agreement.

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17. Integration Clause:

The United States and Defendant acknowledge that this document
constitutes the entire Plea Agreement between the United States and Defendant,
and no other promises, agreements, or conditions exist between the United States
and Defendant concerning the resolution of the case. This Plea Agreement is
binding only upon the United States Attorney’s Office for the Eastern District of
Washington, and cannot bind other federal, state or local authorities. The United
States and Defendant agree that this agreement cannot be modified except in a
writing that is signed by the United States and Defendant.

Approvals and Signatures
Agreed and submitted on behalf of the United States Attorney’s Office for

the Eastern District of Washington.

VANESSA R. WALDREF
United States Attorney

h—« 1/13/2022

MATTHEW A. STONE Date
Assistant United States Attorney

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[have read this Plea Agreement and have carefully reviewed and discussed
every part of the agreement with my attorney. I understand and voluntarily enter
into this Plea Agreement. Furthermore, I have consulted with my attorney about
my rights, I understand those rights, and J am satisfied with the representation of
my attorney in this case. No other promises or inducements have been made to
me, other than those contained in this Plea Agreement, and no one has threatened
or forced me in any way to enter into this Plea Agreement. I am agreeing to plead

guilty because I am guilty.

    

LAVANDER YAHTIN
Defendant

I have read the Pléa Agreement afid have discussed the conterits of the
agreement with my client. The Plea Agreement accurately and completely sets
forth the entirety of the agreement between the parties. I concur in my client's
decision to plead guilty as set forth in the Plea Agreement. There is no legal reason

why the Court should not accept Defendant’s plea of guilty.

Ae i2/s/zors
VA

R W. KLEIN Date
Attorney for Defendant

 

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